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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                        Case No. 1:21-cr-120-RCL

 SCOTT KEVIN FAIRLAMB,

       Defendant.


                                             ORDER

       Defendant Scott Kevin Fairlamb has filed a motion to vacate, set aside, or correct his

sentence under 28 U.S.C. § 2255. Def.'s Mot, ECF No. 65. For the reasons in the corresponding

Memorandum Opinion issued this date, the Court hereby ORDERS that the motion be DENIED.

It is further ORDERED that no certificate of appealability shall issue.

       It is SO ORDERED.



SIGNED this _ _; _Sf-
                   _ day of February, 2023 .
                                                            Royce C. Lamberth
                                                            United States District Judge




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